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                                                             February 3, 2022

 Via ECF

 The Honorable Loretta A. Preska,
     United States District Court for the Southern District of New York,
         500 Pearl Street,
             New York, NY 10007.

                 Re:     Petersen Energía Inversora S.A.U., et al. v. Argentine Republic and
                         YPF S.A., No. 15 Civ. 2739 (LAP) (“Petersen”); Eton Park Cap. Mgmt. et
                         al. v. Argentine Republic and YPF S.A., No. 16 Civ. 8569 (LAP) (“Eton
                         Park”)

 Dear Judge Preska:

                We write on behalf of Defendants the Republic of Argentina and YPF S.A., and
 Plaintiffs Petersen Energía Inversora, S.A.U., Petersen Energía, S.A.U., Eton Park Capital
 Management, L.P., Eton Park Master Fund, Ltd., and Eton Park Fund, L.P. in connection with
 the Court’s January 26 order (Petersen ECF No. 347; Eton Park ECF No. 277).

                 The parties have reached an agreement regarding deadlines for pretrial filings and
 a trial date and are finalizing a stipulation and proposed order. The parties propose to file them
 by February 7, 2022.

 Respectfully,

/s/ Robert J. Giuffra, Jr.                       /s/ Andrew E. Goldsmith
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                                                 Petersen Energía, S.A.U., Eton Park Capital
                                                 Management, L.P., Eton Park Master Fund, Ltd.,
                                                 and Eton Park Fund
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 The Honorable Loretta A. Preska                                      -2-


/s/ Mark P. Goodman
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 cc:    Counsel of Record
